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DATE 1/20/2021                                            CASE NUMBER 4:21MJ51-1 CAN
LOCATION Sherman
JUDGE Christine A. Nowak                                             USA V\ I
                                                                               4:21MJ52-1 CAN
                                                                                                        filed
DEPUTY CLERK. K. Lee
COURT REPORTER Digital Recording                                     v JAN 2 0 2021
USPO: L-P U-t
INTERPRETER Not Required                                   GUY WESLEY REFFITT f i cpk U.S. DISTRICT COURT
BEGIN: lO.D ft y I O'31 ft vw-                            Defendant EASTERN DISTRICT OF TEXAS
                                                                          CUS                                       ?-
                                                          Attorney


B INITIAL APPEARANCE ON INDICTMENT / COMPLAINT
    PRELIMINARY HEARING
    DETENTION HEARING OTHER DISTRICT: _Washington, DC

0       Defendant Sworn                 Interpreter Required
        Dft signs Consent to ProceeAby Videoconference. Defense counsel requests/authorizes Court to affix electronic signature.
        Dft appears: with Oy without counsel
        Date of arrest: 1/19/2021

0      U Y WC. ' -pi i- v                      cTcvU •

        Dft first appearance with counsel CJA appointed Retained ETFederal Public Defender appointed

        Attorney: 6> q         Q S \<- - (For the limited pur oses of the hearings in the ED/TX only)
0       Defendant is advised of the charges, rights, and penalties

        Preliminary hearing set for lOUSCiww-

        Identity hearing set for I o . 15 A /w • 1 / 2S /                        ui ( j o -cw <_c )
        Govt (ORAL) motion for detention H Govt oral motion for continuance Oral Order granting                           Oral Order denying

        Defendant oral motion to continue preliminary and detention hearing Oral Order granting                           Oral Order denying

        Detention hearing set for [0-15 a . \j 1$ 2 LI (vd d Go g© ci_)
        Order setting conditions of release Bond executed; dft released
        Defendant signed Waiver of Rule 5 and Rule 5.1 Hearings. Defense counsel requests/authorizes Court to affix electronic

        signature.

                          Defendant waives identity hearing

                          Defendant waives preliminary hearing

                          Defendant waives detention hearing
                          Defendant waives identity hearing, production of warrant and any preliminary or detention hearing to which the

                          defendant is entitled in this district and requests those hearings be held in prosecuting district at a time set by

                          that Court

        Defendant ordered removed to prosecuting district

        Defendant released on Conditions of Release

0       Defendant remanded to the custody of the United States Marshal.
          o U -b> cowsrcVldd AG '.ZvtAJSV                                     40 24 fAJSZ. Uio oU ccU L                              f se,
        Ooo          re.1. G              -v -'p T"0 co t o V i cfwf e, -
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                         IN THE UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TEXAS
                                                                                      JAN 2 0 2021
                                   SHERMAN DIVISION                                Clerk, U.S. District Court
                                                                                        Texas Eastern
UNITED STATES OF AMERICA                          §
                                                  §
                                                  § CASE NUMBER 4:21 -MJ-00051
v.                                                §                       4:21-MJ-00052
                                                  §
                                                  §
GUY WESLEY REFFITT                                §

                   WAIVER OF RIGHTS AND CONSENT TO PROCEED
                             BY VIDEO CONFERENCE

       I, Guv Wesley Reffitt. the above-named defendant, along with my undersigned attorney,
hereby acknowledge the following and expressly consent to proceed by video conference, or by
telephone conference in the absence of video.


(1) Defendant has received a copy of the charging instrument in this case.

(2) Defendant understands he/she has the right to appear personally with his/her attorney
       before a federal judge in open court; and, that while he/she has the right to appear in
       person, he/she can waive that right and consent to a hearing by video conference, or by
        telephone conference in the absence of video..

(3) Defendant affirmatively states he/she has no objection to proceeding by video
        conference, or by telephone conference in the absence of video.

(4) Defend nt, having confirmed with his/her attorney, understands that by signing this
      for , he/she is knowingly and voluntarily waiving (giving up) any right to personal
      appearance and providing consent (agreeing) for this court proceeding to be conducted by
      video conference, or by teleconference in the absence of video; to wit (check one):

     f nitial Appearance          Arraignment            Detention Hearing              Other

                    TRIBUNAL DE DISTRITO DE LOS ESTADOS UNIDOS
                           DISTRITO DEL ESTE DE TEXAS
                               DIVISI6N DE SHERMAN

ESTADOS UNIDOS DE AMERICA                        §
                                                 §
                                                 § C USA PEN L NRO. 4:2 T- T-OODST
                                                                              4:21-MJ-00052
v.                                               §
                                                 §
                                                 §
GUY WESLEY REFFITT                               §
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     REM NC1A DE DERECHOS Y CONSET 11M1EMO PA A PROCEDER POR
              VIBEOCONFERENCIA O POR VIA TELEFONICA

Yo, Guy Wesley Reffitt, el/la acusado(a) cuyo nombre aparece en la parte superior, y
acompanado(a) de mi abogado(a) y con nuestras respectivas firmas al fondo de este documento,
reconozco lo siguiente y doy mi pleno consentimiento de proceder con mi audiencia por
videoconferencia, o telefonicamente por falta de video.


(1) El/la acusado(a) ha recibio su copia del documento acusatorio en este caso.


(2) El/la acusado(a) entiende que tiene el derecho de comparecer en persona y
       acompanado(a) de su abogado(a) ante un juez federal en un tribunal; y, aunque el la
       acusado(a) goza de ese derecho de comparecer en persona, esta sin embargo dispuesto(a)
       a renunciar a ese derecho y en lugar de ello comparecer por videoconferencia, o
       telefonicamente por falta de video.

(3) El/la acusado(a) afirmativamente declara que no tiene ninguna objecion de que se lleve a
        cabo su audiencia por ideoconferencia o telefonicamente por falta de ideo.

(4) El/la acusado(a), despues de haber consultado con su abogado(a), entiende que al firmar
       este documento, reconoce que esta voluntariamente renunciando cualquier derecho de
       comparecer en persona y ademas da su consentimiento a que esta audiencia se lleve a
      cabo por videoconferencia, o por la via telefonica por falta de video; o sea (escoja solo
      una de las siguientes):

  Vista Inicial QLectura de Cargos                   udiencia de Deteucion QOtta




                                                /s/ Brian O'Shea
                                             Abogado del Acusado (Atto ey for Defendant)
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                            UNITED STATES DISTRICT COURT

                              EASTERN DISTRICT OF TEXAS

                                   SHERMAN DIVISION


UNITED STATES OF AMERICA                           §
                                                   §
V.                                                 §       NO. 4:21MJ51
                                                   §       (Judge Nowak)
GUY WESLEY REFFITT                                 §




                                            ORDER

       On this day the Court considered the Defendant’s MOTION FOR CONTINUANCE OF

IDENTITY, PRELIMINARY, DETENTION HEARING. After careful consideration of the

pleadings and arguments of counsel, the Court finds as follows:

       IT IS ORDERED that Defendant’s motion for continuance is GRANTED and the

Identity, Preliminary, Detention Hearing are reset for Thursday, January 28, 2021 at 12:15 p.m.

The hearing will be conducted in person at the United States Courthouse Annex.

       SIGNED this 24th day of January, 2021.




                                  ___________________________________
                                  Christine A. Nowak
                                  UNITED STATES MAGISTRATE JUDGE
          Case
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                        IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

 UNITED STATES OF AMERICA                         §
                                                  §
                                                  §   CASE NUMBER 4:21 -MJ-00051
 v.                                               §               4:21-MJ-00052
                                                  §
                                                  §
 GUY WESLEY REFFITT                               §                       (JAN 2 0 im
                                                                         Clerk, US. District Court
                                            ORDER                             Texas Eastern

       On October 21, 2020, the President signed into law the Due Process Protections Act,

Pub. L. No. 116-182, 134 Stat. 894 (Oct. 21, 2020), which amends Federal Rule of Cri inal

Procedure 5 (Initial Appearance). Counsel should immediately read the amendment to

Rule 5(f)(1) of the Federal Rules of Criminal Procedure, which became effective upon

enactment, and is entitled Reminder of Prosecutorial Obligation .

       By this written Order - issued to the prosecution and defense counsel - the Court confirms

the disclosure obligation of the prosecutor under Brady v. Maryland, 373 U.S. 83 (1963), and its

progeny, and the possible consequences of violating such Order under applicable law.

       This written Order is entered pursuant to Rule 5(f)(1) of the Federal Rules of Criminal

Procedure and is entered by the Court on this first scheduled court date when both the prosecutor

and defense counsel were present.


       IT IS SO ORDERED.

       Signed January 20, 2021.




                                                                            GISTRATE JUDGE
1/28/2021               Case
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                                            U.S. District Court
                               Eastern District of TEXAS [LIVE] (Sherman)
                          CRIMINAL DOCKET FOR CASE #: 4:21-mj-00051-CAN-1


 Case title: USA v. SEALED                                                          Date Filed: 01/19/2021


 Assigned to: Magistrate Judge Christine A.
 Nowak

 Defendant (1)
 Guy Wesley Reffitt                                                   represented by Brian George O'Shea
                                                                                     Federal Public Defender - Sherman
                                                                                     600 E Taylor
                                                                                     Suite 4000
                                                                                     Sherman, TX 75090
                                                                                     903-892-4448
                                                                                     Fax: 903-892-4808
                                                                                     Email: brian_oshea@fd.org
                                                                                     LEAD ATTORNEY
                                                                                     ATTORNEY TO BE NOTICED
                                                                                     Designation: Public Defender or
                                                                                     Community Defender Appointment

 Pending Counts                                                                     Disposition
 None

 Highest Offense Level (Opening)
 None

 Terminated Counts                                                                  Disposition
 None

 Highest Offense Level (Terminated)
 None

 Complaints                                                                         Disposition
 None



 Plaintiff
 USA                                                                  represented by William Richardson Tatum
                                                                                     US Attorney's Office - Sherman
                                                                                     600 East Taylor, Suite 2000
                                                                                     Sherman, TX 75090
                                                                                     903-868-9454
                                                                                     Fax: 903-892-2792
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                                                                          Email: William.Tatum@usdoj.gov
                                                                          LEAD ATTORNEY
                                                                          ATTORNEY TO BE NOTICED
                                                                          Designation: Assistant US Attorney


  Date Filed            # Docket Text
  01/19/2021           1 Rule 5(c)(3) Documents Received - District of Columbia (1:21-mj-66) as to Guy Wesley
                         Reffitt: Complaint (mem) (Additional attachment(s) added on 1/19/2021: # 1 Sealed
                         Affidavit, # 2 Warrant, # 3 Order Sealing Case) (mem). (Entered: 01/19/2021)
  01/19/2021                NOTICE OF HEARING as to Guy Wesley Reffitt: **VIA VIDEOCONFERENCE** Initial
                            Appearance set for 1/20/2021 at 09:50 AM in Video Conf Rm (Sherman) before Magistrate
                            Judge Christine A. Nowak. (klee, ) (Entered: 01/19/2021)
  01/20/2021                NOTICE OF HEARING as to Guy Wesley Reffitt; Identity Hearing, Preliminary
                            Examination and Detention Hearing set for 1/25/2021 at 10:15 AM in Video Conf Rm
                            (Sherman) before Magistrate Judge Christine A. Nowak. (kls, ) (Entered: 01/21/2021)
  01/20/2021           5 Minute Entry for proceedings held before Magistrate Judge Christine A. Nowak:Initial
                         Appearance in Rule 5(c)(3) Proceedings as to Guy Wesley Reffitt held on 1/20/2021. Date
                         of arrest 1/19/2021. Govt. Oral Motion for Detention and Continuance. Oral Order granting
                         motion to continue. Govt. Oral Motion to Consolidate 4:21mj51 and 4:21mj52. Oral Order
                         granting consolidation. Defendant remanded to custody of USM. (Court Reporter Digital.)
                         (kls, ) (Entered: 01/25/2021)
  01/20/2021           6 WAIVER of Rights and Consent to Proceed by video conference by Guy Wesley Reffitt
                         (kls, ) (Entered: 01/25/2021)
  01/20/2021           7 ORDER APPOINTING FEDERAL PUBLIC DEFENDER as to Guy Wesley Reffitt.
                         Signed by Magistrate Judge Christine A. Nowak on 1/20/2021. (kls, ) (Entered: 01/25/2021)
  01/24/2021           3 MOTION FOR CONTINUANCE OF IDENTITY, PRELIMINARY,DETENTION
                         HEARING, by Guy Wesley Reffitt. (kls, ) (Entered: 01/24/2021)
  01/24/2021           4 ORDER as to Guy Wesley Reffitt re 3 MOTION to Continue filed by Guy Wesley Reffitt.
                         IT IS ORDERED that Defendant's motion for continuance is GRANTED and the Identity,
                         Preliminary, Detention Hearing are reset for Thursday, January 28, 2021 at 12:15 p.m. The
                         hearing will be conducted in person at the United States Courthouse Annex. Signed by
                         Magistrate Judge Christine A. Nowak on 1/24/2021. (kls, ) (Entered: 01/24/2021)
  01/24/2021                NOTICE OF HEARING as to Guy Wesley Reffitt. IT IS ORDERED that Defendant's
                            motion for continuance is GRANTED and the Identity, Preliminary, Detention Hearing are
                            reset for Thursday, January 28, 2021 at 12:15 p.m. The hearing will be conducted in person
                            at the United States Courthouse Annex. (kls, ) (Entered: 01/24/2021)
  01/25/2021           8 RULE(f)(1) ORDER as to Guy Wesley Reffitt. Signed by Magistrate Judge Christine A.
                         Nowak on 1/20/2021. (kls, ) (Entered: 01/26/2021)
  01/25/2021           9 ORDER SCHEDULING IDENITY, PRELIMINARY, AND DETENTION HEARING as to
                         Guy Wesley Reffitt. Signed by Magistrate Judge Christine A. Nowak on 1/20/2021. (kls, )
                         (Entered: 01/26/2021)
  01/25/2021                Case unsealed as to Guy Wesley Reffitt (kls, ) (Entered: 01/27/2021)



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                                    Exempt flag: Exempt                                    Always
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PACER fee: Exempt




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